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                            Exhibit 3




                            Exhibit 3
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From: Marc J. Randazza [mailto:mjr@randazza.com]
Sent: Sunday, January 15, 2012 11:13 AM
To: Val Gurvits
Subject: Sunporno

Val,

I'm working up an amended complaint, pricing out someone to stalk sergey in Prague, etc. before I blow
that kind of money, does he want to cash this case out?

Marc John Randazza
